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SOUTHERN DISTRICT OF NEW YORK

 

x
UNITED STATES OF AMERICA,
ORDER EXONERATING SURETY
VS.
1:17-cr-00630-ER
MARK SCOTT,

Defendant.

 

Ramos, D.J.:

 

This cause, having come on to be heard on Thursday, March 12, 2020, upon Marietta
Halle’s Motion for Exoneration of Bond pursuant to Rule 46(g) of the Federal Rules of Criminal
Procedure, AND

The Court, having reviewed and considered Ms. Halle’s Affidavit, submitted under seal,
the Government's corresponding, written, lack of objection to Ms. Halle’s request for relief, AND

The hearing, entertained by the Court upon the merits, wherein all interested parties
and/or their respective representatives addressed the Court, AND

The premises being otherwise fully considered,

It is hereby Ordered and Adjudged that Ms. Halle’s Motion be, and the same is hereby,
GRANTED. Marietta Halle is discharged from her obligation as surety in the instant matter and
the Clerk is hereby instructed to refund the $750,000.00 that was tendered, on her behalf’, to
secure the bond previously set by this Court.

Itis SO ORDERED.

Dated: May 11, 2020

New York, New York EN L

Edgardo Ramos, U.S.D.J.

 

1 The funds were wired, by Ms. Halle, to the office of Covington & Burling, LLP, and posted on Defendant's behalf, by
counsel for Mark Scott (Arlo Devlin Brown).

 
